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                    UNITED STATES DISTRICT COURT
                    NORTHERN DISTRICT OF FLORIDA
                        TALLAHASSEE DIVISION


Reiyn Keohane,

            Plaintiff,

v.                                          Case No. 4:16-cv-511-MW-CAS

Julie Jones,
in her official capacity as
Secretary of the Florida Department
of Corrections,

            Defendant.

____________________________________

                     Plaintiff’s Unopposed Motion to Stay
                 the Case Pending Any Supreme Court Review

      Plaintiff moves to stay any further deadlines in this case pending Supreme

Court review, if any.

      On March 11, 2020, the Eleventh Circuit vacated this Court’s trial order,

dismissed the case as moot in part, and reversed in part. No. 18-14096 (11th Cir.

Mar. 11, 2020). On April 15, 2020, Plaintiff filed a motion for rehearing en banc.

On April 28, 2020, the Eleventh Circuit entered an order indicating that a judge of

that court was withholding the issuance of the mandate in the appeal. On December

3, 2020, the Eleventh Circuit entered an order denying rehearing en banc. On

December 11, 2020, the Eleventh Circuit entered the appellate mandate. On
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December 17, 2020, this Court entered an “Order Vacating Judgment.” ECF 194.

On December 18, 2020, the Clerk entered a new judgment stating that “Plaintiff’s

claims against Defendant are dismissed with prejudice.” ECF 195.

      If the interest of efficiency, Plaintiff requests that this Court stay any deadlines

for any further relief, including a bill of costs, pending Supreme Court review.

Because of “ongoing public health concerns relating to COVID-19,” the Supreme

Court has extended the deadline to file a petition for writ of certiorari “to 150 days

from the date of the lower court judgment, order denying discretionary review, or

order denying a timely petition for rehearing.” Order (Mar. 19, 2020),

https://www.supremecourt.gov/orders/courtorders/031920zr_d1o3.pdf.                   The

Eleventh Circuit’s order denying rehearing en banc was entered on December 3,

2020, and 150 days following that date is May 2, 2021—a Sunday, meaning that any

cert petition must be filed no later than the following day, May 3, 2021.

      Plaintiff requests that any deadlines be stayed until the later of the cert

deadline (May 3, 2021) or, if a cert petition is filed, the conclusion of any further

proceedings at the Supreme Court.

      Plaintiff’s counsel has consulted with Defendant’s counsel, who does not

oppose the relief requested in this motion.

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                                   Respectfully submitted,



/s/ Daniel B. Tilley
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